 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.61 Page 1 of 72



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 DAVID DYKEHOUSE, KRISTINA
 BOSKOVICH, and ELIZABETH
 HAMBLIN, on behalf of themselves                   Case No. 1:18-CV-01225-RJJ-PJG
 and all others similarly situated,
                                                    Hon. Robert J. Jonker
                              Plaintiff,
 vs.

 THE 3M COMPANY, a Delaware                         DEFENDANT GEORGIA-PACIFIC
 Corporation, GEORGIA-PACIFIC LLC, a                    LLC’S ANSWER AND
 Delaware Corporation,                                AFFIRMATIVE DEFENSES
                       Defendants.



           Defendant Georgia-Pacific LLC (“Georgia-Pacific”) answers Plaintiffs’ Complaint as

follows:

                                       I.      INTRODUCTION

           1.    This action is a response to the tragic, avoidable poisoning of an entire municipal

water system that services more than 3,000 people.

ANSWER: Denied, except that Georgia-Pacific admits that this is a civil action.

           2.    The City of Parchment’s water system, which also services portions of Cooper

Township, was contaminated with dangerously high levels of harmful chemicals known as PFAS

due to the Defendants’ acts and failures to act. As a result, thousands of people have been placed

at risk for developing serious and fatal diseases and a quiet Michigan town was thrust into the

national news as the embodiment of fears shared by many Americans.

ANSWER: Georgia-Pacific admits that certain PFAS have been detected in the water

system of the City of Parchment, and that this water system also services portions of

Cooper Township. Georgia-Pacific, which continues to investigate this matter in
 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.62 Page 2 of 72



cooperation with the Michigan Department of Environmental Quality (MDEQ), denies any

remaining allegations in the first sentence of this paragraph. Georgia-Pacific denies the

second sentence of this paragraph.

      3.      Defendant Georgia-Pacific (including through entities merged into it) was

responsible at various times for constructing, operating, maintaining, utilizing, and closing the

Crown Vantage Landfill (“Landfill”), from which these dangerous chemicals were allowed to

leach into the water system. It also dumped large quantities of waste into the landfill that

contained the same chemicals. Despite full knowledge that the landfill contained substances that

are harmful to human health, and that the landfill was situated extremely close to the wells from

which Parchment’s drinking water was drawn, Georgia-Pacific failed to construct, operate,

maintain, use, and close the landfill in a safe and responsible manner.

ANSWER: Georgia-Pacific denies that any of the referenced entities have “merged” into

Georgia-Pacific. Georgia-Pacific admits that James River Paper Company, Inc. (“James

River”), a predecessor of Georgia-Pacific Consumer Products LP, at times operated

and/or sent waste to a disposal area that is now known as the Crown Vantage Landfill.

Georgia-Pacific currently lacks information or knowledge sufficient to form a belief as to

the amount of PFAS that may have been included in that waste, although Georgia-Pacific

admits that James River at times used certain PFAS in its production processes. Georgia-

Pacific admits that it worked with the MDEQ to close the landfill. Georgia-Pacific denies

the remaining allegations in this paragraph.

      4.      Defendant 3M manufactured these dangerous chemicals and has known about

their dangers for decades. Internal studies from the late 1950s or early 1960s showed that PFAS

accumulate in the human body and have toxic effects. Further research showed particular



                                                2
 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.63 Page 3 of 72



harmful effects, and yet more research was actively suppressed by 3M in order to hide the

dangers of its products. 3M engaged in a campaign of disinformation and deceit in furtherance

of its efforts to sell profitable products that it knew would cause widespread harm.

ANSWER: Georgia-Pacific admits that 3M at times manufactured and sold certain

compounds within a group commonly known as “PFAS.” Georgia-Pacific is aware of

allegations that, among other things, (a) 3M continued to sell certain PFAS despite 3M’s

belief and understanding that certain PFAS might be harmful, and (b) 3M sought to

conceal relevant information on that topic. Georgia-Pacific is investigating those matters,

but currently lacks knowledge or information sufficient to form a belief regarding those

allegations.

                                       II.     PARTIES

       5.      Plaintiff David Dykehouse is an individual and Michigan citizen who at all times

relevant hereto has resided at 302 Parchmount Avenue, Parchment, Michigan and intended to

remain in Michigan.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       6.      Plaintiff Kristina Boskovich is an individual and Michigan citizen who at all times

relevant hereto resided at 1361 Remus St., Kalamazoo, Michigan and subsequently 31244 30th

St., Paw, Michigan, and intended to remain in Michigan.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.




                                                3
 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.64 Page 4 of 72



       7.     Plaintiff Elizabeth Hamblin is an individual and Michigan citizen who at all times

relevant hereto has resided at 1085 East G Avenue, Parchment, Michigan and intended to

remain in Michigan.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       8.     Defendant The 3M Company is a Delaware Corporation with its principal place of

business located in St. Paul, Minnesota.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       9.     Defendant Georgia-Pacific LLC is a limited liability company organized in

Delaware with its principal place of business located in Atlanta, Georgia.

ANSWER: Admitted.

                             II.     JURISDICTION AND VENUE

       10.    This Court has jurisdiction under 28 U.S.C. §1332(a) and/or §1332(d).

Jurisdiction is proper because the amount in controversy exceeds $5,000,000, exclusive of

interest and costs, this is an action between citizens of different states whereby there is

complete diversity of parties, and Plaintiffs and the members of the class are citizens of a

different state than Defendants.

ANSWER: Georgia-Pacific does not contest this Court’s jurisdiction over the subject

matter of this action. Georgia-Pacific lacks knowledge or information sufficient to form a

belief as to the remaining allegations of this paragraph.




                                               4
 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.65 Page 5 of 72



        11.    Venue is proper in this Court under 28 U.S.C. 1391(b)(2), because a substantial

portion of the events or omissions giving rise to Plaintiffs’ claims took place in this District, and

because the property that is the subject of this action is situated in this District.

ANSWER: Georgia-Pacific does not contest that this Court is a proper venue for this

action. Georgia-Pacific lacks knowledge or information sufficient to form a belief as to the

remaining allegations of this paragraph.

                    IV.[sic] GENERAL AND FACTUAL ALLEGATIONS

                                       The City of Parchment

        12.    The City of Parchment, located in Kalamazoo County, Michigan, sits on the

Kalamazoo River and has its roots as a factory town that took shape around a paper mill built in

1909.

ANSWER: Admitted.

        13.    Unfortunately, aspects of the very mill that drove Parchment’s development

would also leave a toxic legacy for future generations.

ANSWER: Denied.

        14.     The mill’s operations have included a landfilling operation (the “Landfill”) for

disposing of paper-making waste. The Landfill served as a disposal location for waste generated

by the mill and at least one other nearby papermaking facility.

ANSWER: Georgia-Pacific admits that James River’s operations at the Parchment Mill at

times included the use of certain disposal areas that received certain wastes from the

Parchment Mill and from the “Board and Carton Mill” in Kalamazoo. Georgia-Pacific

lacks knowledge or information sufficient to form a belief as to the truth of any remaining

allegations contained in this paragraph.



                                                   5
 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.66 Page 6 of 72



       15.     Most of Parchment’s residents are served by Parchment’s municipal water

system, while a smaller number receive their water from private wells.

ANSWER: Georgia-Pacific admits that numerous Parchment residents are served by

Parchment’s municipal water system, while others receive their water from private wells.

Georgia-Pacific lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in this paragraph.

       16.     Upon information and belief, Parchment’s waster system services over

3100 users.

ANSWER: Admitted, upon information and belief.

       17.     Many residents of neighboring Cooper Township are also served by Parchment’s

municipal water system.

ANSWER: Georgia-Pacific admits that some residents of Cooper Township are served by

Parchment’s municipal water system. Georgia-Pacific lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations contained in this

paragraph.

       18.     Parchment’s water system draws from three groundwater wells.

ANSWER: Georgia-Pacific admits that Parchment’s water system has at times made use of

three groundwater wells. Georgia-Pacific lacks knowledge or information sufficient to

form a belief as to the truth of any remaining allegations contained in this paragraph.




                                               6
 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.67 Page 7 of 72



                                        3M and PFAS

       19.     PFAS is a family of chemicals known as per- and polyfluoroalkyl substances

which includes Perfluorooctanesulfonic acid (“PFOS”) and perfluorooctanoic acid (“PFOA”),

among other lesser-known substances.

ANSWER: Admitted.

       20.     PFAS chemicals are sometimes also referred to as PFCs.

ANSWER: Admitted, except that Georgia-Pacific lacks knowledge or information

sufficient to form a belief as to the appropriateness of referring to PFAS as “PFCs” in all

instances.

       21.     3M began to research and develop PFAS in the late 1940s, and began

commercial production in the early 1950s.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       22.     PFOA is a derivative of a man-made chemical called Ammonium

perfluoroctoanoate (APFO). APFO is not found in nature.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       23.     3M was the original manufacturer of PFOA. It began producing PFOA by a

process known as electrochemical fluorination in 1947.

ANSWER: Georgia-Pacific admits that 3M at times produced certain PFAS by

electrochemical fluorination. Georgia-Pacific lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in this paragraph.

       24.     3M synthesized PFOA by electrochemical fluorination in Minnesota from 1947 to



                                              7
 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.68 Page 8 of 72



2002, and during that time it was the world’s largest producer.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       25.    3M used PFOA to manufacture various products for applications including

carpeting, upholstery, apparel, floor wax, textiles, sealants, and cookware.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       26.    Importantly, PFOA was used in products applied to paper, such as waxed and

food contact paper.

ANSWER: Georgia-Pacific admits that certain PFAS sold by 3M were used in the

production of certain paper products, including some food packaging. Georgia-Pacific

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations contained in this paragraph.

       27.    PFOA (like PFOS) was considered desirable due to having the property of

exceptional stability, which is precisely what causes it to be persistent in nature and cause

environmental and health problems.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       28.    3M began producing PFOS-based compounds by electrochemical fluorination in

1949, and announced the phaseout of PFOS and PFOS-related products in 2000.

ANSWER: Georgia-Pacific admits that 3M at times produced certain PFAS by

electrochemical fluorination, and that 3M disclosed the phaseout of certain PFAS in 1999




                                                8
 Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.69 Page 9 of 72



and/or 2000. Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in this paragraph.

         29.   3M produced all or substantially all of the PFOS in the United States.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

         30.   3M produced a variety of widely-used products with PFOS, including the well-

known Scotchgard and also Scotchban, which was used in the production of certain types of

paper.

ANSWER: Georgia-Pacific admits that 3M produced Scotchgard and Scotchban products,

and that certain PFAS sold by 3M were used in the production of certain paper products.

Georgia-Pacific lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in this paragraph.

         31.   3M’s PFAS products were used at the Parchment Paper Mill and disposed of at

the Crown Vantage Landfill.

ANSWER: Georgia-Pacific admits that certain 3M PFAS products were at times used at

the Parchment Paper Mill. Georgia-Pacific further admits that papermaking residuals

were at times disposed of at the landfill, and that these residuals may at times have

contained certain 3M PFAS, in amounts currently unknown. Georgia-Pacific continues to

investigate this matter, and currently lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations contained in this paragraph.

         32.   For decades, 3M took active steps to prevent the public from becoming aware of

the dangers associated with PFAS.




                                                9
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.70 Page 10 of 72



ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

conceal relevant information on risks associated with certain PFAS. Georgia-Pacific is

investigating those matters, but currently lacks knowledge or information sufficient to

form a belief regarding those allegations.

        33.    As it turns out, these dangers include that PFAS persist in the environment on a

scale that can be measured in many human lifetimes and that they accumulate in the human

body where they can cause horrific illnesses.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        34.    3M created and manufactured these substances and has known about their dangers

for decades.

ANSWER: Georgia-Pacific admits that 3M manufactured certain PFAS. Georgia-Pacific

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations contained in this paragraph.

       35.     3M studies from the late 1950s or early 1960s showed that PFAS accumulate in

the human body and are toxic.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       36.     3M studies from the 1970s concluded that the chemicals were “even more toxic”

than previously believed.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.




                                                10
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.71 Page 11 of 72



        37.    In the 1970s, 3M became aware that these chemicals were widely present in the

blood of the general U.S. Population.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M became

aware in the 1970s that certain PFAS were present in the blood of some persons in the

United States. Georgia-Pacific is investigating those matters, but currently lacks knowledge

or information sufficient to form a belief regarding those allegations.

        38.    For decades, 3M failed to report legally-required information about the adverse

health effects of PFAS to the EPA. As a result, it was eventually required to pay a $1.5 million

dollar fine.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        39.    3M began to test its workers’ blood for organic fluorines at least as early as

1976, and at least as early as 1979 it identified PFAS in the blood of its employees at a plant in

Alabama.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M became

aware in the 1970s that certain PFAS were present in the blood of some persons in the

United States. Georgia-Pacific is investigating those matters, but currently lacks knowledge

or information sufficient to form a belief regarding those allegations.

        40.    In 1978, 3M conducted tests that confirmed that PFAS had been found in its

workers’ blood.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M became

aware in the 1970s that certain PFAS were present in the blood of some persons in the




                                               11
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.72 Page 12 of 72



United States. Georgia-Pacific is investigating those matters, but currently lacks knowledge

or information sufficient to form a belief regarding those allegations.

       41.     In 1980, a 3M study confirmed that PFOS, also known as C8, is toxic to rats and

monkeys.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       42.     In about 1983, 3M determined that organic fluorine levels in its workers’ blood

were increasing sharply. 3M’s medical services team transmitted an internal document which

noted that “[t]he test results that were reviewed at our meeting seem to substantiate a trend that

has been developing over the past 12-18 months - a tendency for these levels in a number of

people to no longer show the previous pattern of decline, in fact, a fair number are now

demonstrating an increase in blood fluorine levels.” The physician added that, unless the trends

change, “we must view this present trend with serious concern. It is certainly possible that . . .

exposure opportunities are providing a potential uptake of fluorochemicals that exceeds

excretion capabilities of the body.”

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        43.    A 1992 internal 3M study concluded that ten years of employment in PFOA

production was associated with a three-fold increase in mortality from prostate cancer in men.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.




                                                 12
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.73 Page 13 of 72



       44.    3M has continued to make false and/or misleading statements regarding the safety

of its products. For example, as late as May of 2000 it continued to publically insist that its

PFAS products were safe.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       45.    3M did not share the information it had discovered about the dangers and

persistence of PFAS with authorities or the public until decades after it learned about them.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

conceal relevant information on risks associated with certain PFAS. Georgia-Pacific is

investigating those matters, but currently lacks knowledge or information sufficient to

form a belief regarding the allegations in this paragraph.

       46.    3M concealed these and other key facts from government regulators and the

scientific community, creating an internal team to “command the science” and erect “defensive

barriers to litigation.” It funded friendly research with numerous strings attached, and paid to

suppress less favorable research, similar to the approach taken by the tobacco industry.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

conceal relevant information on risks associated with certain PFAS. Georgia-Pacific is

investigating those matters, but currently lacks knowledge or information sufficient to

form a belief regarding the allegations in this paragraph.

       47.    3M also actively sought ways to make sure that whatever “science” was published

regarding PFAS was favorable to its interests.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

influence some scientific literature in favor of PFAS. Georgia-Pacific is investigating those



                                                 13
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.74 Page 14 of 72



matters, but currently lacks knowledge or information sufficient to form a belief regarding

the allegations in this paragraph.

        48.    One professor, John Giesy, racked up a substantial net worth, at least in part by

covertly suppressing independent scientific research on PFAS.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

influence scientific literature in favor of PFAS.        Georgia-Pacific is investigating those

matters, but currently lacks knowledge or information sufficient to form a belief regarding

the allegations in this paragraph.

        49.    Professor Giesy received numerous grants from 3M for the selective funding of

“outside research” that would assist the company in commanding the science and erecting

defensive barriers to litigation.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

influence some scientific literature in favor of PFAS. Georgia-Pacific is investigating those

matters, but currently lacks knowledge or information sufficient to form a belief regarding

the allegations in this paragraph.

        50.    Professor Giesy’s work was clearly not all above board and had a substantial

impact on the publically-available information regarding PFAS. In an e-mail to a 3M lab

manager, he indicated that “[s]ince we had been set up as academic experts, about half of the

papers published in the area in any given year came to me (continue to come to me) for review.

In time sheets, I always listed these reviews as literature searches so that there was no paper trail

to 3M.”

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

influence some scientific literature in favor of PFAS. Georgia-Pacific is investigating those



                                                14
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.75 Page 15 of 72



matters, but currently lacks knowledge or information sufficient to form a belief regarding

the allegations in this paragraph.

       51.     Giesy bragged about rejecting at least one article that included negative

information on the harmful effects of PFAS and related chemicals on human health.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

influence some scientific literature in favor of PFAS. Georgia-Pacific is investigating those

matters, but currently lacks knowledge or information sufficient to form a belief regarding

the allegations in this paragraph.

       52.     In another e-mail to a 3M employee, Mr. Giesy advised that “you want to keep

‘bad’ papers out of the literature, otherwise in litigation situations they can be a large obstacle to

refute... I assume that you are keeping track of the literature in case we need it in the future.”

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

influence some scientific literature in favor of PFAS. Georgia-Pacific is investigating those

matters, but currently lacks knowledge or information sufficient to form a belief regarding

the allegations in this paragraph.

       53.     3M behaved as an entity that knew exactly how harmful its actions were. Beyond

its efforts to stymie potential knowledge of the dangers of PFAS in the academic sphere, 3M

destroyed documents, told staff to stamp all documents relating to PFAS as attorney-client

privileged, throw away pencil notes from meetings and not to jot down thoughts because of how

they could be viewed during legal discovery. One employee made a note to “clean out computer

of all electronic data” on the chemicals.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

conceal evidence regarding risks associated with certain PFAS.                   Georgia-Pacific is



                                                 15
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.76 Page 16 of 72



investigating those matters, but currently lacks knowledge or information sufficient to

form a belief regarding the allegations in this paragraph.

       54.     In about 1999, a 3M scientist resigned in protest, copying the EPA on a

resignation letter which noted that he could “no longer participate” in a 3M process that put

“markets, legal defensibility and image over environmental safety” while calling PFAS one of

the most insidious chemicals in existence.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       55.     During the time that it manufactured PFAS chemicals, 3M had extensive

knowledge of the impact they had on the environment and human health.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       56.     3M knew or should have known that PFAS, to the extent that they could ever be

safely handled, must be handled in a way that safeguards against their migration into the

environment.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       57.     3M knew or should have known that it was likely that PFAS would be released

from the sites where they were utilized and/or disposed of, and would reach groundwater,

surface water, and soil, resulting in widespread contamination and significant injuries.

ANSWER: Georgia-Pacific admits that 3M knew or should have known that some portion

of certain 3M PFAS used in making paper products might be released to the environment,

including potentially to groundwater, surface water, and soil. Georgia-Pacific lacks



                                               16
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.77 Page 17 of 72



knowledge or information sufficient to form a belief as to the truth of the remaining

allegations contained in this paragraph.

         58.    3M knew or should have known that PFAS would pose dangers to humans in

proximity to any area in which they were used and/or disposed.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

         59.    To the extent that 3M can assert any lack of knowledge regarding any particular

danger of PFAS, that lack of knowledge can be directly attributed to 3M’s significant efforts

to suppress any scientific endeavor that might result in useful information about the harms of

PFAS.

ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

conceal evidence regarding risks associated with certain PFAS.             Georgia-Pacific is

investigating those matters, but currently lacks knowledge or information sufficient to

form a belief regarding the allegations in this paragraph.

         60.    3M posits its early 2000’s exit from the manufacturing of PFAS as a

magnanimous action that was taken voluntarily. In reality, it did so only under threat of long

overdue action by the EPA once more information about the dangers of PFAS finally came to

light.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

          61.    EPA and other regulatory bodies could have taken action sooner had Defendant

 not hidden, suppressed, and otherwise buried important information about the impacts of PFAS.




                                               17
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.78 Page 18 of 72



ANSWER: Georgia-Pacific is aware of allegations that, among other things, 3M sought to

conceal evidence regarding risks associated with certain PFAS.              Georgia-Pacific is

investigating those matters, but currently lacks knowledge or information sufficient to

form a belief regarding the allegations in this paragraph.

                                 The True Dangers of PFAS

        62.   While the evidence that PFAS are harmful to human health dates back several

decades, their dangers have become more widely known in recent years as 3M has lost some of

its capacity to “command the science” around them.

ANSWER:       Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph. By way of further answer,

Georgia-Pacific states that (1) PFAS are a group of thousands of compounds, (2) that the

scientific studies, knowledge, history, and properties are different with respect to different

PFAS, and (3) that scientific inquiry with respect to some PFAS has increased.

        63.   The chemical properties of PFAS make them resistant to any breakdown or

degradation in the environment, because they are thermally, chemically, and biologically stable.

They are resistant to biodegradation, atmospheric oxidation by light, direct photolysis, and

hydrolysis. They are therefore incredibly persistent when released into the environment.

ANSWER:       On information and belief, Georgia-Pacific admits that PFOA and PFOS are

biologically and chemically stable in the environment and are persistent. Georgia-Pacific

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations contained in this paragraph.

       64.    PFAS chemicals do not break down for hundreds, or potentially thousands

of years.



                                              18
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.79 Page 19 of 72



ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       65.     PFAS are known to bioaccumulate, or become physically concentrated, in humans

and animals. A 2005 U.S. Department of Health and Human Services report confirmed that

“human exposure to PFOS and PFOA lead to the buildup of these chemicals in the body.”

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       66.     PFAS are particularly persistent in water and soil, and due to their water-

solubility, they migrate readily from soil to groundwater.

ANSWER:        On information and belief, Georgia-Pacific admits that PFOA and PFOS are

biologically and chemically stable in the environment and are persistent. Georgia-Pacific

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations contained in this paragraph.

       67.     PFAS can travel through soil and other environmental media, which poses a

significant risk of spreading pollution.

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       68.     The environmental persistence of PFAS makes it essential that locations known to

be contaminated with PFAS be especially well controlled, to prevent long-term pollution of the

natural environment and resources.

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.




                                                19
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.80 Page 20 of 72



       69.     PFOS was added to Annex B of the Stockholm Convention on Persistent Organic

Pollutants in May of 2009.

ANSWER:        On information and belief, admitted.

       70.     Exposure to PFAS chemicals is associated with a number of serious health risks.

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       71.     PFAS exposure is associated with an increased risk of chronic kidney disease,

thyroid disease, high cholesterol, elevated liver enzymes, ulcerative colitis, pregnancy-induced

hypertension, various auto-immune disorders, and numerous cancers including testicular, kidney,

prostate, pancreatic, ovarian, and non-Hodgkin’s lymphoma.

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       72.     Animal studies reveal the likelihood that PFAS have the ability to cause other

cancers that have not yet expressly been associated with exposure in humans.

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       73.     The EPA has advised that PFAS exposure may result in developmental effects to

fetuses or infants during breastfeeding.

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       74.     In 2005, an Environmental Working Group analysis of PFOA, conducted in

accordance with the EPA’s guidelines for assessing the cancer-causing potential of a chemical,

found PFOA to be a likely carcinogen to humans. While this categorization requires only one of



                                              20
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.81 Page 21 of 72



five EPA cancer criteria to be met, the analysis concluded that the chemical satisfied three of

those criteria.

ANSWER:           Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

        75.       In May of 2006, the EPA Science Advisory Board stated that PFAS cancer data

are consistent with guidelines suggesting that the chemical is “likely to be carcinogenic to

humans.”

ANSWER:           Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

        76.       An extensive study of the impacts of PFOA contamination, which included blood

sampling from nearly 70,000 people in an impacted area, concluded that there was a “probable

link” between PFOA exposure and testicular cancer, kidney cancer, thyroid disease, ulcerative

colitis, high cholesterol, and pregnancy-induced hypertension.

ANSWER:           Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

        77.       The health conditions associated with PFAS can arise months or years after

exposure.

ANSWER:           Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

        78.       In 2014, the EPA noted that “PFOA and PFOS are extremely persistent in the

environment and resistant to typical environmental degradation processes. [They] are widely

distributed across the higher trophic levels and are found in soil, air and groundwater at sites




                                                21
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.82 Page 22 of 72



across the United States. The toxicity, mobility and bioaccumulation potential of PFOS and

PFOA pose potential adverse effects for the environment and human health.”

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the accuracy of this 2014 quotation. Georgia-Pacific admits that the EPA’s 2017

“Emerging Contaminants Fact Sheet – PFOS and PFOA” contains language substantially

similar to the language quoted in this paragraph.

       79.     In June of 2016, a peer-reviewed panel of scientists concurred with the U.S.

Department of Health and Human Services National Toxicology Program’s finding that PFOS

and PFOA can harm the human immune system.

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       80.     In 2009, the EPA established provisional health advisories of PFOA at 0.4 ppb

and PFOS at 0.2 ppb.

ANSWER:        Admitted.

       81.     In 2012, the EPA included PFOS and PFOA in its Third Unregulated

Contaminant Monitoring Rule, requiring certain drinking water providers nationwide to test their

water for these substances and report the results.

ANSWER:        Georgia-Pacific admits that PFOS and PFOA were included by the EPA in

its Third Unregulated Contaminant Monitoring Rule. Georgia-Pacific denies the remaining

allegations of this paragraph.

        82.    In May of 2016, the EPA established Lifetime Health Advisories for both PFOS

and PFOA at a combined concentration of .07 ppb (70 ppt).

ANSWER:        Admitted.



                                                 22
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.83 Page 23 of 72



        83.   The sufficiency of the EPA’s advisory is hotly disputed, with many experts of the

opinion that they are too permissive.

ANSWER:       Georgia-Pacific admits that the advisory information has provoked

disagreement, that some persons believe it is too permissive, and that other persons believe

it is too restrictive. Georgia-Pacific denies any remaining allegation of this paragraph.

        84.   New Jersey set a maximum contaminant level of 14 ppt for PFOA in drinking

water, and Vermont has set a level of 20 ppt for PFOA and PFOS in drinking water.

ANSWER:       Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

        85.   Dr. Philippe Grandjean, Professor of Environmental Health at Harvard

University’s T.H. Chan School of Public Health, has conducted extensive research on PFAS

chemicals and human health, and recommends a maximum concentration level of 1 ppt.

ANSWER:       Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

        86.   In June of 2018, the U.S. Agency for Toxic Substances and Disease registry

released a comprehensive 982 page Toxicological Profile for Perfluoroalkyls report, which

shows that the safety thresholds should be 7 ppt for PFOS and 11 ppt for PFOA.

ANSWER:       Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

        87.   The ATSDR report also suggests links between perfluoroalkyl exposure and

health outcomes including hepatic effects, cardiovascular effects, endocrine effects, immune

effects, reproductive effects, and developmental effects. It further examines the mechanisms for

exposure-caused cancer.



                                              23
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.84 Page 24 of 72



ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

        88.    With each passing year, the more PFAS are studied the more bad news is

uncovered. It is clear that 3M’s efforts to actively conceal information about its products

prevented the public from learning what it needed to know to avoid catastrophic results.

ANSWER:        Georgia-Pacific denies the first sentence of this paragraph. Georgia-Pacific

is aware of allegations that, among other things, 3M actively concealed information about

certain of its PFAS products and thereby prevented third parties from learning

information about those products. Georgia-Pacific is investigating those matters, but

currently lacks knowledge or information sufficient to form a belief regarding the

allegations in the second sentence of this paragraph.

                                 The Paper Mill and Landfill

        89.    Parchment’s paper mill has changed ownership a number of times over its many

decades of operations through a series of acquisitions. It was owned variously by the Kalamazoo

Vegetable Parchment Co., Brown Co., James River Corp., Fort James Corp., and Crown Vantage

Paper Co.

ANSWER: Georgia-Pacific denies that the Parchment Mill was owned by Fort James

Corp., and further states that the Fort Howard/James River merger occurred after James

River spun off the Parchment Mill.         Georgia-Pacific lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations contained in this

paragraph.

        90.    The mill and its associated properties, including the Landfill, were owned by Fort

James Corp. from approximately 1980 until 1995.



                                               24
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.85 Page 25 of 72



ANSWER: Denied. By way of further answer, Georgia-Pacific states that James River, a

predecessor of Georgia-Pacific Consumer Products LP, owned the Parchment Mill from

approximately 1980 until 1995.

        91.   The mill’s operations have included the manufacture and subsequent disposal of

products made with PFAS.

ANSWER: Georgia-Pacific admits that the mill’s operations included at times the

manufacture of certain paper products using certain PFAS sold by 3M. Georgia-Pacific

further admits that waste from that manufacturing process was at times disposed of, and

that this waste may at times have contained certain PFAS, in amounts currently unknown.

Georgia-Pacific lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in this paragraph.

        92.   3M-made PFAS were used at the mill and PFAS waste was buried at the mill’s

Landfill.

ANSWER: Georgia-Pacific admits that the mill’s operations at times included the

manufacture of certain paper products using certain PFAS sold by 3M. Georgia-Pacific

further admits that waste from that manufacturing process was disposed of in the Landfill.

Georgia-Pacific lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in this paragraph.

        93.   For example, a perfluoroalkyl polymer was a primary ingredient in an oil and

grease repellant known as “Scotchban FX-845” which was produced by 3M and was used in

laminated products produced at the plant.

ANSWER: On information and belief, Georgia-Pacific admits that 3M PFAS compounds

used at the mill as part of the development and/or production of products included, at



                                             25
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.86 Page 26 of 72



times, “FX-845” and/or “FC-845.” Georgia-Pacific lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations contained in this

paragraph.

        94.   Scotchban was used in various consumer products that resist grease, water, and

oil, including microwave popcorn packages.

ANSWER: Admitted.

        95.   Crown Vantage Inc. (parent company) and Crown Paper Co. (subsidiary)

(collectively, “Crown”) were created from the James River Corporation as a spin-off in 1995 in

an effort to reduce James River’s debt. The spin-off included 11 of James River’s mills, and the

CEO of the new company had been an Executive Vice President for James River Corp.

ANSWER: Georgia-Pacific admits that in 1995 James River Corporation spun off several

properties into what subsequently became a separate public company known as Crown

Vantage Paper Co. Georgia-Pacific further admits that the spin-off included 11 former

James River sites, that the spin-off reduced debt, and that the first CEO of Crown Vantage

had been an Executive Vice President for James River Corporation. Georgia-Pacific denies

any remaining allegations contained in this paragraph.

        96.   Part of the business that was spun-off into Crown was the specialty packaging and

converting papers unit in Michigan, which included the Parchment plant and its Landfill.

ANSWER: Georgia-Pacific admits that Parchment Mill and its waste-disposal areas were

included in the Crown Vantage Paper Co. spin-off. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained

in this paragraph.




                                               26
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.87 Page 27 of 72



         97.    The Landfill actually consists of two separately permitted landfill units, referred

to as the Type II Landfill and the Type III Landfill.

ANSWER: Admitted.

         98.    A 1985 letter from James River Corporation to the Michigan Department of

Natural Resources notes, regarding the Type II Landfill, that the “landfill is the exclusive

property of James River and has therefore only received waste from the two James River Corp.

facilities located in this area.”

ANSWER: Georgia-Pacific admits that a January 3, 1985 letter from Ms. Elizabeth

Howard at James River to Mr. Galen Kilmer at Michigan Department of Natural

Resources contains the quoted language in this allegation.

         99.    The Type II landfill was closed and stopped accepting new waste by 1989.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph. By way of further answer,

Georgia-Pacific states that Consent Order 115-09-02 indicates that (a) the Type II landfill

was closed “prior to 1989,” and (b) that the Type II landfill “did not receive waste after

October 9, 1993….” Georgia-Pacific’s investigation of this matter is continuing.

         100. James River Corporation was issued Construction Permit #0202 on April 20, 1987

for a 32.8 acre solid waste disposal area at the Crown Vantage Landfill (the Type III Landfill),

but the design was ultimately modified to a 21.2 acre disposal area. The landfill plans did not

include any liner or leachate collection system.

ANSWER: Georgia-Pacific admits that James River was issued Construction Permit No.

0202 on April 20, 1987 for the Type III landfill, and that as originally constructed, the Type




                                                   27
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.88 Page 28 of 72



III landfill did not include any liner. Georgia-Pacific denies the remaining allegations of

this paragraph.

        101. The Type III Landfill was established to provide disposal capacity for the James

River Corporation Parchment Mill and the James River Corporation Kalamazoo Mill, located

across the Kalamazoo River.

ANSWER: Georgia-Pacific admits that the Type III Landfill provided disposal capacity for

the Parchment Mill and the James River mill in Kalamazoo (also known as the “Board and

Carton Mill” or the “Board Mill”).

        102. Crown Paper Company operated the Type III Landfill from August 1995 through

October of 2000 for the disposal of residual waste from papermaking operations.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        103. James River Paper was the prior owner and operator of the Type III Landfill and

continued to dispose of solid waste in the landfill during the period of Crown Paper Company’s

ownership under the terms of a “Landfill Agreement” between Crown Paper Company, on the

one hand, and James River Paper Company, Inc. and James River Corporation of Virginia

(collectively, the “James River Entities”), on the other hand.

ANSWER: Georgia-Pacific admits that a “Landfill Agreement” dated August 22, 1995 was

executed between Crown Paper Company, on one hand, and James River Corporation of

Virginia and Crown Paper Co., on the other hand. Georgia-Pacific admits, on information

and belief, that waste from the Board and Carton Mill was likely deposited in the Type III

Landfill during Crown’s ownership. Georgia-Pacific lacks knowledge or information




                                                28
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.89 Page 29 of 72



sufficient to form a belief as to the truth of the remaining allegations contained in this

paragraph.

        104. Under the Landfill Agreement, Crown Paper Company allowed the James River

Entities to continue to dispose of residual waste in the Type III Landfill in exchange for the

payment of tipping fees and contribution to the costs associated with closure of the Type II and

Type III Landfills.

ANSWER: Admitted.

        105. The James River Entities were required to pay tipping fees of two to four dollars

per cubic yard, to start.

ANSWER: Georgia-Pacific admits that Paragraph 6 of the August 22, 1995 Landfill

Agreement reads: “Costs. (a) James River shall pay Newco a tipping fee of two dollars

($2.00) a cubic yard through December 31, 1995. Beginning January 1, 1996, James River

shall pay Newco a tipping fee of four dollars ($4.00) a cubic yard. Newco shall provide

twelve (12) months’ notification of any further increases in the tipping fee. If at the request

of James River, the landfill’s normal operating hours are extended, James River shall pay

administrative costs associated with the extension of operating hours.”

        106. During the timeframe of the agreement, the James River Entities disposed of

papermill sludge at the Landfill. This includes waste from the James River Corporation

Kalamazoo Mill, until November of 1997.

ANSWER: Georgia-Pacific admits, on information and belief, that papermaking residuals

from the Board and Carton Mill were likely disposed of at the landfill at times during the

timeframe of the agreement. Georgia-Pacific lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph.



                                              29
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.90 Page 30 of 72



        107. A perfluoroalkyl polymer was a main ingredient in oil and grease-repellents used

in laminated paper products produced by Fort James Corp in the 1990s. The repellant was

patented by 3M and discontinued when 3M began phasing out products based on PFOS in 2000.

ANSWER: Georgia-Pacific admits that 3M began phasing out certain PFAS products used

in the paper industry in 2000. Georgia-Pacific further admits that James River used

certain PFAS in the manufacture of oil and grease resistant products. Georgia-Pacific

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations contained in this paragraph.

        108. Enormous volumes of waste containing high concentrations of PFAS were

disposed of at the Type III Landfill by James River Corporation and/or James River Paper

Company, Inc.

ANSWER: Georgia-Pacific admits that James River at times disposed of papermaking

residuals in the Type III landfill, and that at times these residuals may have contained

certain PFAS, in amounts that have not yet been determined. Georgia-Pacific lacks

knowledge or information sufficient to form a belief as to the truth of the remaining

allegations contained in this paragraph.

        109. The Landfill Agreement called for the closure costs of the Type III landfill to be

borne 60% by the James River Entities and 40% by Crown Paper Company, for the first 50% of

closure costs. Thereafter, the costs were to be divided according to the percentage of waste

volume disposed by each party after the date of the agreement.

ANSWER: Georgia-Pacific admits that Paragraph 6 (b) and (c) of the August 22, 1995

Landfill Agreement read as follows: “6. Costs. . . . “(b) Closure Costs for the Landfill

shall be borne 60% by James River and 40% by Newco for the first 50% of closure costs.



                                               30
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.91 Page 31 of 72



Thereafter, the costs shall be divided according to the percentage of waste volume disposed

by each party after the date of this agreement. (c) Closure costs for the Type II Landfill

shall be borne equally between James River and Newco.”

        110. The agreement called for closure costs for the Type II Landfill to be borne equally

between the James River Entities and Crown Paper Company.

ANSWER: Georgia-Pacific admits that Paragraph 6(c) of the August 22, 1995 Landfill

Agreement reads: “6. Costs. . . . (c) Closure Costs for the Type II Landfill shall be borne

equally between James River and Newco.”

        111. The Landfill Agreement defined “Closure Costs” as “any requirements of the

Michigan Department of Natural Resources to close the Landfill including but not limited to cap

placement, vegetation, post-closure maintenance, post-closure monitoring, and any required

remedial actions or, in the case of the Type II Landfill, improvements to the existing cap, post-

closure maintenance, post-closure monitoring, and any required remedial actions.”

ANSWER: Georgia-Pacific admits that the quoted language can be found on page 2 of the

August 22, 1995 Landfill Agreement.

        112.   Under the Landfill Agreement, the James River Entities were granted access to

the Landfill and its files and records to “evaluate the Landfill’s compliance with its permit and

the requirements of the Michigan Department of Natural Resources.”

ANSWER: Georgia-Pacific admits that Paragraph 3(e) of the August 22, 1995 Landfill

Agreement reads: “3. Landfill Operation. . . . (e) Newco shall provide access to the

Landfill and to files and records so that James River may evaluate the Landfill’s

compliance with its permit and the requirements of the Michigan Department of Natural

Resources.”



                                               31
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.92 Page 32 of 72



       113.    A 1997 lease agreement between Fort James Operating Company and Crown

Paper Co. requires Fort James to retain liability for any remediation required due to its activities

at the Parchment Mill’s Premises.

ANSWER: Admitted.

       114.    In 2000, only fifteen years into their existence, Crown Vantage, Inc. and Crown

Paper Co. filed for bankruptcy and began liquidating their assets.

ANSWER: Georgia-Pacific admits that in 2000 Crown Vantage Paper Co. declared

bankruptcy, and that this date was approximately 5 years after the Crown Vantage entities

came into existence. Georgia-Pacific denies any remaining allegation in this paragraph.

       115.    The bankruptcy estates sought to abandon all rights, title, and interest in all of the

real property associated with the Parchment Mill.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       116.    Ultimately, Crown’s’ rights and interests under the Landfill Agreement with

James River entities were assigned to MDEQ.

ANSWER: Georgia-Pacific admits that MDEQ became an assignee of certain obligations of

Crown Vantage under the Landfill Agreement. Georgia-Pacific denies any remaining

allegations of this paragraph.

       117.    In 1997, James River Corporation merged with Fort Howard Corporation and

changed its name to Fort James Corporation.

ANSWER: Admitted.

       118.    Also in 1997, James River Paper Company, Inc., which was a wholly-owned

subsidiary of James River Corporation, changed its name to Fort James Operating Company.



                                                32
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.93 Page 33 of 72



ANSWER: Admitted.

         119.    In 2000, Defendant Georgia-Pacific acquired the Fort James Corporation

(formerly James River Corporation of Virginia), and the latter was merged into the former after

Securities and Exchange Commission required divestitures were made.

ANSWER: Georgia-Pacific admits that in 2000, a Georgia-Pacific subsidiary acquired Fort

James Corporation. Georgia-Pacific denies any remaining allegation of this paragraph.

         120. In April of 2002, Georgia-Pacific entered a Consent Order with the Michigan

Department of Environmental Quality (“MDEQ”), setting forth Georgia-Pacific’s responsibilities

in closing the mill’s landfill.

ANSWER: Georgia-Pacific admits that in April of 2002 a 15-page Consent Order was

entered between Georgia-Pacific Corporation and MDEQ “In the matter of Administrative

proceedings pertaining to Former Crown Vantage Landfills located in Section S1/2 of

Section 34, T1S, R11W, Cooper Township, Kalamazoo County, Parchment, Michigan.”

         121. The Consent Order notes that under the Bankruptcy Court Order and the Landfill

Agreement, Georgia-Pacific had certain obligations with respect to the two landfill units.

ANSWER: Georgia-Pacific admits that the first paragraph of the Consent Order reads:

“This order is to implement the provisions of the United States Bankruptcy Court for the

Northern District of California Order Authorizing the Assumption of Landfill Agreement

Dated August 22, 1995 and Assignment of Debtors’ Rights and Interests Thereunder to the

Michigan Department of Environmental Quality Pursuant to 11 U.S.C. § 365 in Jointly

Administered Case No. 00-41584 (“Bankruptcy Court Order”); and the Landfill

Agreement dated August 22, 1995 (“Landfill Agreement”).”




                                                33
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.94 Page 34 of 72



        122. Under the Consent Order, Georgia-Pacific and MDEQ agreed “to set out their

respective rights and obligations” with respect to the landfill units.

ANSWER: Georgia-Pacific admits that the first page of the Consent Order includes the

following sentence: “The parties agree to set out their respective rights and obligations in

this Consent Order and to cooperate fully with each other to fulfill the terms of the

foregoing documents.”

        123. The Consent Order required Georgia-Pacific to, among other things: (1)

contribute to the cost of closure, maintenance, and long-term monitoring at the Landfills; and (2)

generate and implement a plan for closing the Landfills (the “Closure Plan”).

ANSWER:        Georgia-Pacific admits that Paragraph 1.3 in the Consent Order reads:

“Under the terms of the Landfill Agreement, the Respondent and the DEQ are both

obligated to contribute to the cost of closure, maintenance, and long-term monitoring at the

Landfills.”    Georgia-Pacific further admits that the Consent Order defines a “Closure

Plan”, including requirements and scheduling for implementation.

        124. The Consent Order expressly notes that it “in no way affects [Georgia-Pacific’s]

responsibility to comply with any other applicable state, federal, or local laws or regulations in

the performance of its obligations” under the order.

ANSWER: Georgia-Pacific admits that Paragraph 10.1 of the Consent Order reads: “This

Consent Order in no way affects the Respondent’s responsibility to comply with any other

applicable state, federal, or local laws or regulations in the performance of its obligations

herein.”

        125. The order further notes that “the issues [sic] of resource damage has not been

completely addressed by the execution of this Consent Order. It is agreed that the state of



                                                  34
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.95 Page 35 of 72



Michigan does not waive the right to bring an appropriate action to recover resources damages

that are not remediated by the Closure Plan.”

ANSWER: Georgia-Pacific admits that Paragraph 10.3 of the Consent Order reads: “The

parties agree that the issues of resource damage has not been completely addressed by the

execution of this Consent Order. It is agreed that the State of Michigan does not waive the

right to bring an appropriate action to recover resources damages that are not remediated

by the Closure Plan.”

        126. In 2002, MDEQ found that Parchment’s wellfield was “highly susceptible to

potential contaminants.”

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        127. In February of 2003, the Consent Order was amended for purposes of extending

the deadline for completion of the final certification information.

ANSWER: Georgia-Pacific admits that in February of 2003 Georgia-Pacific and MDEQ

executed an “Amendment to Consent Order” as part of “In the matter of Administrative

proceedings pertaining to Former Crown Vantage Landfills located in Section S1/2 of

Section 34, T1S, R11W, Cooper Township, Kalamazoo County, Parchment, Michigan.”

Georgia-Pacific further admits that this Amendment altered Paragraph 2.5 of the Consent

Order as follows: “2.5 By December 31, 2002, June 1, 2003, the Respondent shall complete

the closure and submit to the DEQ for review and approval, the final certification

information required by R 299.4921 for the Landfills at the Crown Site.”




                                                 35
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.96 Page 36 of 72



        128. MDEQ’s April 15, 2002 contract with Georgia-Pacific to close the landfill notes

that “[n]ot closing the landfill could result in contamination continuing to emanate into the

Kalamazoo River.”

ANSWER: Georgia-Pacific admits that the April 15, 2002 “Contract Abstract” signed by

only MDEQ includes the following sentence in Section 6: “Not closing the landfill could

result in contamination continuing to emanate into the Kalamazoo River.”

        129. The contract further notes that “Georgia Pacific has developed the engineering

plans and estimates for the costs of closures based on the ability to complete some of the work

itself and to obtain sub contractors as needed.”

ANSWER: Georgia-Pacific admits that Section 7 of the April 15, 2002 “Contract Abstract”

signed by only MDEQ reads as follows: “ACQUISITION METHOD. Georgia Pacific was

chosen as the Sole Source because it is responsible for approximately 50% of the cost of

closure. This eliminates the need for three-way contracts and will assure that the closure

can be completed this construction season. Georgia Pacific has developed the engineering

plans and estimates for the costs of closures based on the ability to complete some of the

work itself and to obtain sub contractors as needed. If another party was involved this

would need to be completed again, adding to costs and timing of the project.”

        130. Prior to its closing, the Landfill had a history of regulatory and/or permit

violations which were due, at least in part, to Georgia-Pacific’s predecessors’ negligent and/or

faulty construction, operation, maintenance, and/or use of the landfill.

ANSWER: Denied.




                                                   36
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.97 Page 37 of 72



         131. For example, an August 3, 2001 MDEQ waste management division evaluation

report noted that MDEQ “staff observed that the landfill had reached capacity and that excess fill

above the limits established in the [construction permit] had been placed at the facility.”

ANSWER: Georgia-Pacific admits that a Michigan Department of Environmental Quality

Waste Management Division Evaluation Report purportedly representing an inspection

made on August 3, 2001 of the “Crown Vantage Landfill” with “Facility Number 39-

000037” states in the “Remarks”: “Staff observed that the landfill had reached capacity

and that excess fill above the limits established in Construction Permit #0202 had been

placed at the facility.”

         132. MDEQ identified the level of fill as a permit and regulatory violation. At closure,

the landfill was overfilled by approximately 60,000 cubic yards, or approximately 1.75 feet of

uniform overfill over the entire 21.2 acre site.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

         133. MDEQ also noted in the evaluation report that “stained soils were evident in

many areas where stormwater that has come into contact with waste materials have flowed off

the site.”

ANSWER: Georgia-Pacific admits that a Michigan Department of Environmental Quality

Waste Management Division Evaluation Report purportedly representing an inspection

made on August 3, 2001 of the “Crown Vantage Landfill” with “Facility Number 39-

000037” includes the quoted language in the “Remarks”.

         134. The evaluation report notes the permit obligation that “the facility shall not

discharge pollutants into waters of the United States in violation of Part 31 or NPDES permit.”



                                                   37
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.98 Page 38 of 72



ANSWER: Georgia-Pacific admits that a Michigan Department of Environmental Quality

Waste Management Division Evaluation Report purportedly representing an inspection

made on August 3, 2001 of the “Crown Vantage Landfill” with “Facility Number 39-

000037” includes the quoted language in Paragraph K of the “Definitions” on the back

page of the Evaluation Report and reads in full as follows: “K. The facility shall not

discharge pollutants into waters of the United States in violation of Part 31 or NPDES

permit. [Rule 306(2), 436(1)].”

        135. Georgia-Pacific, directly and/or through the use of subcontractors, performed the

work to close the Landfill.

ANSWER: Admitted that Georgia-Pacific worked with the MDEQ to close the Landfill.

Any remaining allegations are denied.

        136. The Landfill was closed in a way that did not protect the groundwater from

contamination by PFAS or other harmful substances in the Landfill.

ANSWER: Denied.

        137. Prior to Georgia-Pacific’s work in closing the Landfill, it was known that

landfilling activities at the Type III Landfill were impacting the groundwater.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph. To the extent this paragraph

contains allegations regarding Georgia-Pacific’s knowledge, those allegations are denied.

                        Discovery of PFAS in Plaintiffs’ Water Supply

        138. In recognition of the dangers and widespread impacts of PFAS, in 2017 Governor

Snyder created the Michigan PFAS Action Response Team (MPART) as an interagency

organization to “investigate sources and locations of PFAS contamination in the state, to take



                                               38
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.99 Page 39 of 72



action to protect people’s drinking water, and to keep the public informed as we learn more

about this emerging contaminant.”

ANSWER:       Georgia-Pacific admits that Governor Snyder created MPART in 2017 and

that the quoted language above appears on the MPART website. Georgia-Pacific denies

the remaining allegations in this paragraph.

       139. MPART has worked to identify areas where PFAS may be present as a

contaminant. Without this effort, Parchment’s residents would likely still be drinking PFAS

contaminated water.

ANSWER:       This paragraph contains no allegations related to Georgia-Pacific and,

therefore, requires no response. To the extent this paragraph alleges facts related to

Georgia-Pacific, Georgia-Pacific denies them.

       140. On July 26, 2018, the Michigan Department of Environmental Quality (“MDEQ”)

discovered that Parchment’s municipal water system and the wells from which it draws were

contaminated with PFAS.

ANSWER:       This paragraph contains no allegations related to Georgia-Pacific and,

therefore, requires no response. To the extent this paragraph alleges facts related to

Georgia-Pacific, Georgia-Pacific admits that MDEQ discovered certain PFAS in

Parchment’s municipal water system and the wells from which it draws. Georgia-Pacific

denies any remaining allegations in this paragraph.

       141. Test results showed PFOS concentrations in Parchment’s drinking water of 740

parts per trillion (“ppt”) and PFOA concentrations of 670 ppt and a total PFAS concentration of

1587 ppt.

ANSWER:       Georgia-Pacific admits that these test results have been publicly reported.



                                               39
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.100 Page 40 of 72



        142. Prior to the date of this discovery, neither Plaintiffs nor the class knew or should

have known that their drinking water had been contaminated with PFAS.

ANSWER:        Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph.

        143. The State of Michigan has also adopted 70 ppt as the acceptable drinking water

criterion for PFAS.

ANSWER:        Denied. By way of further answer, Georgia-Pacific admits that the State of

Michigan in January of 2018 adopted groundwater cleanup criterion of 70 ppt for PFOA

and PFOS, combined, for drinking water.

        144.   This means that the concentration of PFAS detected in Parchment’s municipal

water well was more than 22 times the limits adopted by both the state and federal governments,

which themselves are as much as 70 times the limits recommended by experts.

ANSWER:        Denied.

        145.   On July 29, Lieutenant Governor Brian Calley declared a state of emergency in

Kalamazoo County regarding the contamination of Parchment’s water supply.

ANSWER:        Admitted.

        146.   Impacted residents were forced to drink bottled water until at least late August,

2018, after Parchment’s system was connected to Kalamazoo’s water service and the system

was flushed. Many residents understandably still do not trust the water.

ANSWER:        Georgia-Pacific admits that the drinking water advisory for the City of

Parchment and a portion of Cooper Township was lifted on August 27, 2018, and that the

City of Parchment has switched to water from the City of Kalamazoo. Georgia-Pacific

denies any remaining allegations.



                                               40
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.101 Page 41 of 72



       147.     On August 13, 2018, MDEQ received results for PFAS tests it conducted on 102

private wells in Parchment and Cooper Township. Results for those wells ranged as high as 340

ppt.

ANSWER: Georgia-Pacific admits that a media report dated August 18, 2018 stated that

MDEQ had conducted tests on “100 plus” wells in the vicinity of Parchment and Cooper

Township, and that results for those wells included “a PFAS level of 340 ppt” at one well.

Georgia-Pacific lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in this paragraph.

       148.     MDEQ has reported that the highest PFAS levels were generally found closer to

the Landfill.

ANSWER:         Denied.

       149.     Indeed, MDEQ identified the Landfill as a “likely source” of the contamination.

ANSWER:         Georgia-Pacific lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph. By way of further answer, Georgia-Pacific

states that (a) at least one news report claims that MDEQ has said that the landfill is a

“likely source” of contamination, and (b) there has been no final determination by MDEQ

of the source(s) of any contamination.

       150.     On July 31, 2018, MDEQ began to take samples from 14 groundwater

monitoring wells at the Landfill.

ANSWER:         Georgia-Pacific admits that on August 1, 2018, MDEQ began to take samples

from 15 groundwater monitor wells at the Landfill. Georgia-Pacific denies any remaining

allegation of this paragraph.




                                               41
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.102 Page 42 of 72



        151.   Samples collected from the landfill revealed one location contained 11,500 parts

per trillion of or PFOA and PFOS.

ANSWER:        Georgia-Pacific admits that one groundwater monitoring well test result was

11,500 ppt for PFOA and PFOS (combined). Georgia-Pacific denies any remaining

allegation of this paragraph.

        152.   Part 201 of the Natural Resources and Environmental Protection Act governs the

state's responses to contamination and provides for private parties to conduct certain response

activities.

ANSWER:        Admitted.

        153.   Georgia-Pacific announced on October 1, 2018 that it would “voluntarily” aid

efforts to identify the source of PFAS that contaminated the city’s water.

ANSWER:        Georgia-Pacific admits that it has voluntarily agreed to conduct certain work

to investigate the landfill, as more fully set forth in below, that the work will be conducted

at Georgia-Pacific’s expense, under the MDEQ’s supervision, and that the MDEQ may

elect to undertake additional field activities to further protect public health and the

environment.

        154.   Georgia-Pacific has voluntarily agreed to do the following, at its own expense,

under the MDEQ's supervision:

ANSWER:        Georgia-Pacific admits that it has voluntarily agreed to do the following, at

Georgia-Pacific’s expense, under the MDEQ’s supervision, and that the MDEQ may elect

to undertake additional field activities to further protect public health and the

environment.




                                               42
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.103 Page 43 of 72



        155.    Develop a work plan, with the MDEQ's assistance, that identifies monitoring

well locations and depths, sampling procedures and analytical methodology;

ANSWER:        Admitted.

        156.    Install monitoring wells in accordance with the work plan;

ANSWER:        Admitted.

        157.    Measure water levels in the monitoring wells;

ANSWER:        Admitted.

        158.    Collect and analyze groundwater samples in accordance with the work plan;

ANSWER:        Admitted.

        159.    Provide all data to the MDEQ along with tables and figures to summarize results;

ANSWER:        Admitted.

        160.    Install additional monitoring wells and collect additional groundwater samples as

needed to understand and define the extent of contamination as well as the sources of PFAS

impacting private and public water supplies;

ANSWER:        Admitted.

        161.    Provide the MDEQ with a report on the information obtained through the work

plan.

ANSWER:        Admitted.

        162.    While it likely lowers costs incurred by MDEQ, leaving Georgia-Pacific in

charge of studying the cause of Parchment’s water contamination raises obvious questions about

bias in the results.

ANSWER:        Denied.




                                               43
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.104 Page 44 of 72



                                Necessity of Medical Monitoring

       163.      The hazardous substances to which Plaintiffs and the Class have been exposed

are known to cause serious illness, as described herein and including without limitation various

forms of cancer.

ANSWER: Denied.

       164.      Persons such as Plaintiffs and the Class who have been significantly exposed to

the hazardous substances caused by Defendant’s tortuous conduct have or will have a

significantly increased risk of contracting one or more diseases as described herein, including

but not limited to cancer.

ANSWER: Denied.

       165. The exposure to which Plaintiffs and the Class have been subjected make it

reasonably necessary for them to undergo periodic diagnostic medical examinations different

from what would be prescribed in the absence of their exposure.

ANSWER: Denied.

       166. Monitoring procedures exist that make the early detection of the diseases and/or

illnesses for which Plaintiffs and the Class are at an increased risk.

ANSWER: Denied.

       167. Early diagnosis and treatment for the cancers, diseases, and disorders caused by

PFAS exposure is essential to detect and mitigate long-term health consequences in Plaintiffs

and the Class.

ANSWER: Denied.

       168. Simple procedures including, but not limited to, blood tests, skin evaluations,

scans, urine tests, and physical examinations are well-established and readily available.



                                                 44
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.105 Page 45 of 72



ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       169. These measures are essential to preventing and/or mitigating long-term health

consequences that will be borne by Plaintiffs and the Class Members through no fault of their

own due to Defendants’ actions in exposing Plaintiffs and the Class Members to dangerous

chemicals and, in some cases, these measures are likely to prove life-saving.

ANSWER: Denied.

       170. The requested tests, procedures, scans, and examinations are different from the

normal recommended medical care, and will be specifically tailored to assess and monitor

conditions that pertain to PFAS exposure, and they would not be necessary in the absence of a

known exposure to these chemicals.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       171. Further, these tests, examinations, and procedures would occur more frequently

than the normal recommended schedule of examinations for a population that had not been

exposed to these levels of PFAS chemicals.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

       172. The required testing is reasonably necessary and in accord with current medical

and scientific procedures.

ANSWER: Denied.

       173. Plaintiffs and the Class have no other adequate remedy at law, and medical

monitoring through the establishment of a medical monitoring fund is reasonably necessary.



                                               45
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.106 Page 46 of 72



ANSWER: Denied.

                                VI.    CLASS ALLEGATIONS

          174. Plaintiffs bring this action on behalf of themselves and on behalf of all others

similarly situated pursuant to Fed. R. Civ. P. 23.

ANSWER: Georgia-Pacific acknowledges that Plaintiffs purport to bring this action on

behalf of themselves and others, but deny that class certification is appropriate in this

action.

          175. Plaintiffs seek to represent a class preliminarily defined as “all persons who

resided in homes serviced by Parchment, Michigan’s municipal water system as of July 26,

2018 and have not brought individual actions for personal injury or illness and do not opt out of

the Class.” Plaintiffs reserve the right to amend this class definition and/or add subclasses and/or

issue classes (pursuant to Fed. R. Civ. P. 23(c)(4)-(5)) as discovery progresses and the

appropriateness of any such classes is determined.

ANSWER: Georgia-Pacific acknowledges that Plaintiffs seek to represent a class, but deny

that class certification is appropriate in this action.

          176. Upon information and belief, there are approximately 3100 users of Parchment’s

water system.

ANSWER: Admitted, upon information and belief.

          177. While the precise number of Class Members is not presently known, the Class is

clearly so numerous that joinder of all members would be impracticable.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.




                                                46
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.107 Page 47 of 72



           178. 169.[sic] This case entails numerous questions of law and fact that are common to

Plaintiffs and all members of the putative class. Such questions include, by way of illustration

only and without limitation:

      a.         The extent to which Parchment’s water supply was contaminated with PFAS;

      b.         The acts of the Defendants that caused Plaintiffs and the putative class to be

exposed to PFAS contaminated drinking water;

      c.          How PFAS contamination migrated from the Landfill into the wellfields from

which Parchment’s water was drawn;

      d.          The harms and impacts imposed upon Plaintiffs and the class by their exposure to

PFAS;

      e.          The acts of Defendant 3M in manufacturing and selling widely distributed,

dangerous products about which it suppressed information and failed to warn;

      f.          The duty owed to the putative class by the each of the Defendants;

      g.          Whether each of the Defendants breached any duties owed to the putative class;

      h.          Whether the Defendants acted with a deliberate indifference to a known or

obvious danger;

      i.          Whether the actions of the Defendants constituted gross negligence, because they

were so reckless as to demonstrate a substantial lack of concern for whether an injury would

result;

ANSWER: Georgia-Pacific acknowledges that Plaintiffs seek to represent a class, but

denies that class certification is appropriate in this action or that Plaintiffs claims are likely

to present common questions of law or fact with claims of unidentified putative class




                                                 47
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.108 Page 48 of 72



members. Georgia-Pacific denies any remaining allegations in this paragraph, including its

subparagraphs.

       179.    The claims of the named Plaintiffs are typical of the claims of the absent Class

Members. The harms suffered by the named Plaintiffs are the same as those of the Class and

they are pursued under the same legal theories as are applicable to the Class.

ANSWER: Georgia-Pacific acknowledges that Plaintiffs seek to represent a class, but

denies as untrue that class certification is appropriate in this action or that Plaintiffs’

claims are typical of potential claims of unidentified putative class members. Georgia-

Pacific denies any remaining allegations in this paragraph.

       180.    Plaintiffs will fairly and adequately protect the interests of the absent Class

Members and have no conflicts with the Class with respect to the allegations in this complaint.

ANSWER: Georgia-Pacific acknowledges that Plaintiffs seek to represent a class, but

denies as untrue that class certification is appropriate in this action. Georgia-Pacific lacks

knowledge or information sufficient to form a belief as to the truth of allegations that

Plaintiffs will fairly and adequately represent, or are free of conflicts with, unidentified

putative class members. Georgia-Pacific denies any remaining allegations in this

paragraph.

       181.    Plaintiffs have retained counsel with substantial experience related to the claims

in this lawsuit. Plaintiffs’ Counsel has represented certified classes in numerous cases involving

environmental contamination (including from landfills), complex hydrological issues, and

problems with municipal infrastructure.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.



                                               48
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.109 Page 49 of 72



        182. Plaintiffs’ Counsel has investigated the allegations in this complaint, and has

committed the appropriate resources to represent the Class.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        183. This case is appropriate for certification under Rule 23(b)(3). Common issues of

fact and law predominate over questions affecting only individual Class Members and a class

action is the superior means for litigating this case.

ANSWER: Denied.

                                  Count I– PUBLIC NUISANCE

                 All Plaintiffs and the Putative Class Against Both Defendants

        184. Plaintiffs incorporate every allegation in this complaint as if fully restated herein.

ANSWER: Georgia-Pacific incorporates its responses to the allegations of all preceding

paragraphs.

        185. Defendants’ actions in causing PFAS contaminated water to be delivered to the

homes of Plaintiffs resulted in the presence of contaminants in Plaintiffs’ properties and/or

persons.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        186. Defendants’ actions substantially and unreasonably interfered with Plaintiffs’

comfortable living and ability to use and enjoy their homes, constituting a nuisance.




                                                  49
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.110 Page 50 of 72



ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        187. Plaintiffs did not consent for PFAS contaminated water to physically invade their

persons or property.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        188. Plaintiffs suffered injuries and damage to their persons and/or properties as a

direct and proximate result of Defendants’ actions in causing PFAS contaminated water to be

delivered to their homes.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        189. The injuries to Plaintiffs and the Class are especially injurious to themselves as

compared with the general public, which may have incurred injuries less substantial than those

suffered by persons whose homes were serviced by the contaminated water system.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        190. Defendants’ actions in causing a substantial and unreasonable interference with

Plaintiffs’ ability to use and enjoy their properties constitutes a nuisance and Defendants are

liable for all damages arising from such nuisance, including compensatory and exemplary relief.




                                              50
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.111 Page 51 of 72



ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

            191. Defendants’ actions and/or omissions were the proximate cause of the Plaintiffs’

injuries.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

            192. As a direct and proximate result of the Defendants’ conduct and/or failures to act,

Plaintiffs and the putative class have suffered property damages, consequential damages,

exemplary damages, and have been placed at a substantially increased risk for developing

numerous diseases, disorders, and illnesses, as described herein.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

                                   Count II– PRIVATE NUISANCE

                    All Plaintiffs and the Putative Class Against Both Defendants

            193. Plaintiffs incorporate every allegation in this complaint as if fully restated herein.

ANSWER: Georgia-Pacific incorporates its responses to the allegations of all preceding

paragraphs.

            194. Defendants’ actions in causing PFAS contaminated water to be delivered to the

homes of Plaintiffs resulted in the presence of contaminants in Plaintiffs’ properties and/or

persons.



                                                    51
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.112 Page 52 of 72



ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        195. Defendants’ actions substantially and unreasonably interfered with Plaintiffs’

comfortable living and ability to use and enjoy their homes, constituting a nuisance.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        196. Plaintiffs did not consent for PFAS contaminated water to physically invade their

persons or property.

ANSWER: Georgia-Pacific lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph.

        197. Plaintiffs suffered injuries and damage as a direct and proximate result of

Defendants’ actions in causing PFAS contaminated water to be delivered to their homes.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        198.   Defendants’ actions in causing a substantial and unreasonable interference with

Plaintiffs’ ability to use and enjoy their properties constitutes a nuisance and Defendants are

liable for all damages arising from such nuisance, including compensatory and exemplary relief.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.



                                                52
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.113 Page 53 of 72



        199.   Defendants’ actions and/or omissions were the proximate cause of the Plaintiffs’

injuries.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        200.   As a direct and proximate result of the Defendants’ conduct and/or failures to act,

Plaintiffs and the putative class have suffered property damages, consequential damages,

exemplary damages, and have been placed at a substantially increased risk for developing

numerous diseases, disorders, and illnesses, as described herein.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

                                     Count III -TRESPASS

               All Plaintiffs and the Putative Class Against Both Defendants

        201.   Plaintiffs incorporate every allegation in this complaint as if fully restated herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

        202.   Defendants’ negligent, grossly negligent, willful, and/or wanton conduct and/or

failures to act caused contaminants to enter upon Plaintiffs’ property and into Plaintiffs’

persons.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.




                                                53
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.114 Page 54 of 72



        203.    Defendants, knowingly or in circumstances under which they should have

known, engaged in deliberate acts and omissions that released contaminants which were

substantially certain to invade the water and properties of Plaintiffs and the putative class.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

        204.    Defendants knew or should have known of the likelihood that PFAS

contamination would migrate into Plaintiffs’ drinking water.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

        205.    Defendants’ actions resulted in contaminants entering into Plaintiffs’ persons and

properties, damage to property and a substantially increased risk for developing numerous

diseases, disorders, and illnesses, as described herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

        206. Defendants’ actions were done with actual malice or wanton, reckless or willful

disregard for Plaintiffs’ safety, rights, and/or property.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

        207. Defendants’ actions and/or omissions were the proximate cause of the Plaintiffs’

injuries.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.




                                                  54
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.115 Page 55 of 72



        208. As a direct and proximate result of the Defendants’ conduct and/or failures to act,

Plaintiffs and the putative class have suffered property damages, consequential damages,

exemplary damages, and have been placed at a substantially increased risk for developing

numerous diseases, disorders, and illnesses, as described herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

                             Count IV- UNJUST ENRICHMENT

                All Plaintiffs and the Putative Class Against Both Defendants

        209. Plaintiffs incorporate every allegation in this complaint as if fully restated herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

        210. Defendants have received the benefits of disposing of PFAS without incurring the

costs associated with conducting such disposal in a safer and more appropriate manner.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

        211. The retention of these benefits constitutes unjust enrichment in the amount of all

amounts not expended by failing to provide for the disposal of the PFAS materials in a safer and

more appropriate manner.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

        212. It would be unjust to allow Defendants to retain the benefit they obtained from

Plaintiffs.




                                                55
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.116 Page 56 of 72



ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       213. Plaintiffs are entitled to exemplary damages.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

                                    Count V –NEGLIGENCE

                All Plaintiffs and the Putative Class Against Both Defendants

       214. Plaintiffs incorporate every allegation in this complaint as if fully restated herein.

ANSWER: Georgia-Pacific incorporates its responses to the allegations of all preceding

paragraphs.

       215. Defendants owed Plaintiffs and the putative class a duty to exercise reasonable

care in creating, selling, applying, and disposing of PFAS substances, including but in no way

limited to the operation of the Landfill.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

       216. Section 324.20101a of the Natural Resources and Environmental Protection Act

imposes duties on Defendants, including the duties to “exercise due care by undertaking

response activity necessary to mitigate unacceptable exposure to hazardous substances, mitigate

fire and explosion hazards due to hazardous substances, and allow for the intended use of the

facility in a manner that protects the public health and safety” and to “[t]ake reasonable

precautions against the reasonably foreseeable acts or omissions of a third party and the

consequences that foreseeably could result from those acts or omissions.”



                                               56
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.117 Page 57 of 72



ANSWER: Georgia-Pacific admits that it has an obligation to comply with relevant and

applicable statutes, but denies that it has failed to satisfy any statutory obligation or duty.

Georgia-Pacific denies any remaining allegation of this paragraph with respect to itself,

and lacks knowledge or information sufficient to form a belief as to the truth of any

remaining allegations against 3M contained in this paragraph.

        217. Plaintiffs and the putative class relied on the Defendants to perform their duties.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        218. Defendants failed to exercise reasonable or due care.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        219. Defendants breached their duties to Plaintiffs in ways including but not limited to

the following:

        a. Failing to exercise ordinary care in the manufacture of PFAS and PFAS-containing

           products;

        b. Failure to warn of known harms of PFAS;

        c. Failure to exercise due care by undertaking response activity necessary to mitigate

           unacceptable exposure to hazardous substances;

        d. Failure to exercise due care in the disposal of PFAS, including the construction,

           operation, maintenance, use, and closure of the Landfill;




                                               57
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.118 Page 58 of 72



       e. Failure to take reasonable precautions against the reasonably foreseeable acts or

          omissions of a third party and the consequences that foreseeably could result from

          those acts or omissions; and

       f. Failure to warn Plaintiffs and the Class about the likelihood that their water supply

          was or would become contaminated.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

       220. Plaintiffs and the putative class suffered harm resulting from Defendants’ failures

to exercise reasonable care.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

       221. Defendants are liable to Plaintiffs and the putative class for all harms resulting to

themselves and their property from Defendants’ failures to exercise reasonable care.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

       222. Defendants’ liability includes without limitation increased risk of disease,

disorder, and illness, and property damage suffered by Plaintiffs and the putative class as a

result of Defendants’ failures to exercise reasonable care.




                                                58
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.119 Page 59 of 72



ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        223. Defendants’ actions and/or omissions were the proximate cause of the Plaintiffs’

injuries.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        224. As a direct and proximate result of the Defendants’ conduct and/or failures to act,

Plaintiffs and the putative class have suffered property damages, consequential damages,

exemplary damages, and have been placed at a substantially increased risk for developing

numerous diseases, disorders, and illnesses, as described herein.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

                             COUNT VI – GROSS NEGLIGENCE

                All Plaintiffs and the Putative Class Against Both Defendants

        225. Plaintiffs incorporate every allegation in this complaint as if fully restated herein.

ANSWER: Georgia-Pacific incorporates its responses to the allegations of all preceding

paragraphs.

        226. Defendants owed Plaintiffs and the putative class a duty to exercise reasonable

care in creating, selling, applying, and disposing of PFAS substances, including but in no way

limited to the operation of the Landfill.



                                                59
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.120 Page 60 of 72



ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        227. Section 324.20101a of the Natural Resources and Environmental Protection Act

imposes duties on Defendants, including the duties to “exercise due care by undertaking

response activity necessary to mitigate unacceptable exposure to hazardous substances, mitigate

fire and explosion hazards due to hazardous substances, and allow for the intended use of the

facility in a manner that protects the public health and safety” and to “[t]ake reasonable

precautions against the reasonably foreseeable acts or omissions of a third party and the

consequences that foreseeably could result from those acts or omissions.”

ANSWER: Georgia-Pacific admits that it has an obligation to comply with relevant and

applicable statutes, but denies that it has failed to satisfy any statutory obligation or duty.

Georgia-Pacific denies any remaining allegation of this paragraph with respect to itself,

and lacks knowledge or information sufficient to form a belief as to the truth of any

remaining allegations against 3M contained in this paragraph.

        228. Plaintiffs and the putative class relied on the Defendants to perform their duties.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        229. Defendants failed to exercise reasonable or due care.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.



                                               60
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.121 Page 61 of 72



        230. Defendants breached their duties to Plaintiffs in ways including but not limited to

the following:

        a. Failing to exercise ordinary care in the manufacture of PFAS and PFAS-containing

           products;

        b. Failure to warn of known harms of PFAS;

        c. Failure to exercise due care by undertaking response activity necessary to mitigate

           unacceptable exposure to hazardous substances;

        d. Failure to exercise due care in the disposal of PFAS, including the construction,

           operation, maintenance, use, and closure of the Landfill;

       e. Failure to take reasonable precautions against the reasonably foreseeable acts or

           omissions of a third party and the consequences that foreseeably could result from

           those acts or omissions; and

       f. Failure to warn Plaintiffs and the Class about the likelihood that their water supply

           was or would become contaminated.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

       231.      Plaintiffs and the putative class suffered harm resulting from Defendants’ failures

to exercise reasonable care, which were so reckless as to demonstrate a substantial lack of

concern for whether an injury would result;

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.



                                                 61
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.122 Page 62 of 72



        232.   Defendants are liable to Plaintiffs and the putative class for all harms resulting to

themselves and their property from Defendants’ failures to exercise reasonable care.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        233.   Defendants’ liability includes without limitation increased risk of disease,

disorder, and illness, and property damage suffered by Plaintiffs and the putative class as a result

of Defendants’ failures to exercise reasonable care.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        234.   Defendants’ actions and/or omissions were the proximate cause of the Plaintiffs’

injuries.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.

        235.   As a direct and proximate result of the Defendants’ conduct and/or failures to act,

Plaintiffs and the putative class have suffered property damages, consequential damages,

exemplary damages, and have been placed at a substantially increased risk for developing

numerous diseases, disorders, and illnesses, as described herein.

ANSWER: Denied with respect to Georgia-Pacific. Georgia-Pacific lacks knowledge or

information sufficient to form a belief as to the truth of the allegations against 3M

contained in this paragraph.



                                                62
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.123 Page 63 of 72



              COUNT VII- PRODUCT LIABILITY- DEFECTIVE DESIGN

               All Plaintiffs and the Putative Class Against Both Defendants

       236.   Plaintiffs incorporate every allegation in this complaint as if fully restated herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       237.   At all times relevant hereto, Defendants were in the business of designing,

developing, engineering, manufacturing, researching, testing, providing, and/or distributing

products containing PFAS.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       238.   Defendants had a duty to design their products in a way that would prevent human

exposure to toxic chemicals and the contamination of the natural environment.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       239.   Defendants breached their duty by, among other acts, negligently and wrongly

designing, developing, engineering, manufacturing, researching, testing, providing, and/or

distributing PFAS products and therefore failing to exercise reasonable care to prevent these

products from posing an unreasonable risk of harm to human health and the environment.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       240.   It was reasonably foreseeable that the PFAS chemicals made, sold, and/or utilized

by Defendants would contaminate the environment, including water supplies.




                                                63
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.124 Page 64 of 72



ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       241.    It was reasonably foreseeable that the PFAS chemicals made, sold, and/or utilized

by Defendants would enter the bodies of Plaintiffs and the Class Members by environmental

contamination, including of their drinking water.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       242.    Upon information and belief, alternative designs of Defendants’ products were

and are available, reasonable, technologically feasible and practical, which would have

significantly reduced or prevented the harms suffered by Plaintiffs and the Class

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       243.    Defendants’ products were defective at the time of manufacture as well as at the

time that they left the Defendants’ control.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       244.    As a direct and proximate result of the Defendants’ conduct and/or failures to act,

Plaintiffs and the putative class have suffered property damages, consequential damages,

exemplary damages, and have been placed at a substantially increased risk for developing

numerous diseases, disorders, and illnesses, as described herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.




                                                64
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.125 Page 65 of 72



               COUNT VIII- PRODUCT LIABILITY- FAILURE TO WARN

                All Plaintiffs and the Putative Class Against Both Defendants

       245.    Plaintiffs incorporate every allegation in this complaint as if fully restated herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       246.    At all times relevant hereto, Defendants were in the business of designing,

developing, engineering, manufacturing, researching, testing, providing, and/or distributing

products containing PFAS.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       247.    Defendants had a duty to provide reasonable instructions and adequate warnings

about the risk of injury and hazardous nature of the products, as well as their harmful effects to

human health and the environment.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       248.    Defendants knew or should have known that the distribution, storage, and use of

these products would likely contaminate the environment and enter the water supply, harming

human health, property, and the environment.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       249.    These risks were not obvious to end users.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.



                                                 65
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.126 Page 66 of 72



       250.    Defendants breached their duties by failing to provide warnings, or at least

adequate warnings, that use of the products could result in PFAS chemicals entering the human

body and posing a substantial risk to human health.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       251.    Defendants breached their duties by failing to provide warnings, or at least

adequate warnings, that use of the products could result in contamination of the environment and

drinking water.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       252.    Sufficient and adequate instructions or warnings would have greatly reduced or

avoided the harms suffered by Plaintiffs and the Class Members as set forth in this Complaint.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       253.    As a direct and proximate result of the Defendants’ conduct and/or failures to act,

Plaintiffs and the putative class have suffered property damages, consequential damages,

exemplary damages, and have been placed at a substantially increased risk for developing

numerous diseases, disorders, and illnesses, as described herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

                                    COUNT IV- BATTERY

                  All Plaintiffs and the Putative Class Against Both Defendants

       254.    Plaintiffs incorporate every allegation in this complaint as if fully restated herein.



                                                 66
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.127 Page 67 of 72



ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       255.    Defendants willfully, wantonly and recklessly, generated, disposed, discharged,

and allowed the release and migration of toxic chemicals into the environment which caused a

direct, harmful and/or offensive contact with Plaintiffs and the Class and thereby committed

battery upon Plaintiffs and the Class.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       256.    The wrongful touching and/or contact occurred when PFAS invaded the bodies of

the Plaintiffs and Class Members through their drinking water.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       257.    Defendants put in motion the chemicals that touched Plaintiffs and Class

Members.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       258.    Defendants acted willfully and wantonly with reckless disregard that their failure

to act to stop the release of PFAS into the environment would wrongfully cause the touching of

Plaintiffs and the Class.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.




                                               67
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.128 Page 68 of 72



       259.     Defendants’ acts and omissions showed a willful, wanton, and reckless disregard

of persons, including the Plaintiffs and the Class, who foreseeably might be harmed by such acts

or omissions.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       260.     The battery of Plaintiffs and the Class was offensive, unwelcome, and done

without the consent of Plaintiffs and the Class.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       261.     Plaintiffs and the Class were injured as a result of the battery.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       262.     Plaintiffs and the Class sustained damages as a result of the battery.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.

       263.     As a direct and proximate result of the Defendants’ conduct and/or failures to act,

Plaintiffs and the putative class have suffered consequential damages, exemplary damages, and

have been placed at a substantially increased risk for developing numerous diseases, disorders,

and illnesses, as described herein.

ANSWER: Georgia-Pacific has filed a motion to dismiss this Count under Federal Rule of

Civil Procedure 12(b)(6), therefore no responsive pleading is required.




                                                   68
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.129 Page 69 of 72



                                 AFFIRMATIVE DEFENSES

       Georgia-Pacific asserts that the claims of plaintiffs are barred, in whole or in part, by the

following affirmative or other defenses. By setting forth these defenses, Georgia-Pacific does not

assume the burden of proving any fact, issue, or element of a cause of action where such burden

properly belongs to plaintiffs. Moreover, nothing stated herein is intended or shall be construed

as an acknowledgment that any particular issue or subject matter is relevant to the allegations of

plaintiffs. Georgia-Pacific reserves the right to plead any and all additional defenses that may

become evident or appreciated after investigation and discovery in this matter.

       1.      Plaintiffs fail to state a claim upon which relief may be granted.

       2.      The claims of plaintiffs are barred, in whole or in part, by the applicable statute of

limitations. Specifically, but without limitation, the complaint alleges Georgia-Pacific stopped

disposing of PFAS waste at the alleged disposal locations decades ago. The complaint also

alleges that PFAS migrates to and through groundwater. Any PFAS on plaintiffs’ property may

have been present on the property and/or in the water more than three years before plaintiffs filed

the complaint. Moreover, upon information and belief, plaintiffs knew or should have known of

any alleged PFAS contamination more than three years before plaintiffs filed the complaint.

       3.      Plaintiffs’ request for relief based on alleged “increased risk” for certain diseases

arising from consuming groundwater fail to allege a present physical injury and thus are not ripe

for adjudication.

       4.      Plaintiffs lack standing to bring these claims to the extent plaintiffs do not own

any allegedly contaminated property.

       5.      The claims of plaintiffs are barred to the extent plaintiffs failed to mitigate the

alleged injury and damages.



                                                69
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.130 Page 70 of 72



       6.      The claims of plaintiffs are barred by the equitable doctrine of laches or estoppel.

       7.      Plaintiffs’ claims are barred because federal, state and/or local authorities and

agencies have mandated, directed, approved and/or ratified the alleged actions or omissions of

Georgia-Pacific.

       8.      The relief sought by the complaint is within the particular expertise of and is

being addressed by federal and state governments and their relevant agencies. This court should

decline to exercise jurisdiction over this matter pursuant to the doctrine of primary jurisdiction.

The Michigan Department of Environmental Quality has been actively engaged in the

investigation and remediation of any impact of PFAS on the environment. The agency has

particular expertise in that field, and the Michigan legislature and federal government have

vested these agencies with the authority to remedy issues like those alleged in the complaint.

       9.      Plaintiffs’ claims are barred by the doctrine of election of remedies. Two or more

remedies exist for plaintiffs’ alleged harm. Plaintiffs seek damages for alleged lost property

value. Plaintiffs also seek equitable relief to abate the alleged problem associated with the

presence of PFAS in plaintiffs’ drinking water. Those remedies are inconsistent and either

would remedy the injuries plaintiffs allege.

       10.     Plaintiffs have an adequate remedy at law. The equitable causes of action alleged

in the complaint are thus barred. Plaintiffs have alleged a fear of future illness as well as

perceived damage to property from third parties. To the extent those injuries are cognizable,

damages are available to plaintiffs.

       11.     Plaintiffs are not entitled to injunctive relief as a matter of law. Actors not party

to this lawsuit are partially or wholly responsible for the plaintiffs’ alleged injuries. As a result,

plaintiffs’ proposed remedies will impose a disproportionate hardship on Georgia-Pacific.



                                                 70
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.131 Page 71 of 72



       12.     Plaintiffs do not have the right to a jury trial on some or all of the claims asserted

in the complaint.

       13.     The claims of plaintiffs are limited or barred under MCL 600.5805(13) (statute of

limitations), MCL 600.2946 (product liability action), MCL600.2946a (product liability action

and damages), MCL 600.2947 (product liability action), MCL 600.2948 (product liability

action), MCL 600.2959 (comparative fault), MCL 600.2957 (determine of allocation of fault),

MCL 600.6304 (personal injury involving fault of more than one party), MCL 600.6306

(damages), and/or MCL 600.6312 (joint and several liability).

       14.     Plaintiffs are barred from recovering punitive damages, which are not recoverable

under Michigan law.

       15.     Plaintiffs do not meet the standards for class certification under Federal Rule of

Civil Procedure 23, and thus cannot maintain this matter as a class action.

       16.     Georgia-Pacific reserves the right to add affirmative defenses which become

known through investigation or discovery.




                                                71
Case 1:18-cv-01225-JTN-ESC ECF No. 11 filed 01/18/19 PageID.132 Page 72 of 72



        WHEREFORE, Georgia-Pacific requests that the Plaintiffs’ Complaint be dismissed and

that the Court grant all other appropriate relief.


Dated: January 18, 2019                                   /s/ George P. Sibley, III

                                               Janet Ramsey
                                               Dean Pacific
                                               WARNER NORCROSS + JUDD LLP
                                               111 Lyon, N.W., Ste. 900
                                               Grand Rapids, Michigan 49503
                                               616.752.2424
                                               dpacific@wnj.com
                                               jramsey@wnj.com

                                               Michael Shebelskie
                                               mshebelskie@hunton.com
                                               Alexandra Cunningham
                                               acunningham@hunton.com
                                               Douglas Garrou
                                               dgarrou@hunton.com
                                               George P. Sibley, III
                                               gsibley@hunton.com
                                               HUNTON ANDREWS KURTH LLP
                                               951 E Byrd St.
                                               Riverfront Plaza, East Tower
                                               Richmond, VA 23219
                                               804.788.8200

                                               Attorneys for Defendant Georgia-Pacific LLC




                                                     72

029073.0000424 EMF_US 72343650v1
